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  5 Attorneys for Receiver
       William J. Hoffman
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  8                                      UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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       HOWARD L. ABSELET,                             Case No. 2:11-CV-00815 JFW (JEMx)
 11                                                   [Related Cases: 2:15-CV-7625 JFW
                                                      (JEMx); 2:15-CV-8570 JFW (JEMx)]
 12                         Plaintiff,
                    vs.                  NOTICE OF MOTION FOR AN ORDER
 13                                      APPROVING RECEIVER'S FINAL
       ALLIANCE LENDING GROUP, INC., ACCOUNTING AND REPORT
 14    a California corporation; et al.,
                                         Courtroom: 7A of the Hon. John F. Walter
 15                                                  350 W. 1st Street
                    Defendants.                      Los Angeles, CA 90012
 16                                      Hearing: June 11, 2018
                                                  1:30 p.m.
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 19                  TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 20                 PLEASE TAKE NOTICE THAT, on June 11, 2018 at 1:30 p.m., or as soon
 21 thereafter as the matter may be heard, in Courtroom 7A of the above-captioned

 22 court, located at 350 W. 1st Street, Los Angeles, CA 90012, William J. Hoffman (the

 23 "Receiver") will, and hereby does, move for an order approving Receiver’s Final

 24 Accounting and Report.

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        NOTICE OF MOTION FOR AN ORDER APPROVING RECEIVER'S FINAL ACCOUNTING AND REPORT
      4811-2863-7541.2
Case 2:11-cv-00815-JFW-JEM Document 891 Filed 05/08/18 Page 2 of 2 Page ID #:22561



  1                 This Motion is made following the conference of counsel pursuant to L.R. 7-
  2 3 which took place on April 20, 2018 at 9:30 a.m.

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  4      Dated: May 8, 2018                    CGS3, LLP
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  6
                                               By:
  7                                                  Gregory S. Markow
                                                     Attorneys for Receiver
  8                                                  William J. Hoffman
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        NOTICE OF MOTION FOR AN ORDER APPROVING RECEIVER'S FINAL ACCOUNTING AND REPORT
      4811-2863-7541.2
